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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1.      GEORGE H. ASKEW,
 2.      ROMELL E. BULLOCK,
 3.      GREGORY A. COLLINS,
 4.      GEORGE A. GADDY,
 5.      DELBERT J. GARDNER,
 6.      RICHARD JOHNSON,
 7.      SHEPS H. KHAMSAHU,
 8.      ERIC LUGO,
 9.      LAWRENCE T. MARTIN,
 10.     JOHNIE A. MYERS,
 11.     DARELL R. PARKER,
 12.     CALVIN R. RILEY,
 13.     COREY L. RILEY,
 14.     THOMAS A. SCHRAH, JR.,
 15.     JAMES R. SWITZER, and
 16.     CLIFFORD M. WRIGHT,

                Defendants.


       ORDER AND NOTICE OF CHANGE OF PLEA AND SENTENCING HEARINGS


         THIS MATTER comes before the Court following the filing of a Notice of Disposition

 (#240) on February 22, 2012, by Defendant Calvin R. Riley. The Court construes this Notice as

 a motion to change his plea and to have the Court consider the terms of the parties’ plea

 agreement.

         IT IS THEREFORE ORDERED that:

         1.     Pursuant to 18 U.S.C. § 3161(h)(1)(F) and (I), the speedy trial clock is tolled
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                   pending determination of those matters.

          2.       A Change of Plea hearing is set for May 9, 2012, at 3:30 p.m. and a Sentencing

                   hearing is set for August 7, 2012, at 11:00 a.m. in the United States District

                   Court for the District of Colorado, Courtroom A901, Alfred A. Arraj U.S.

                   Courthouse, 901 19th Street, Denver, Colorado.1

          3.       The final trial preparation conference set for March 16, 2012, and the March 19,

                   2012, trial date are VACATED.

          DATED this 24th day of February, 2012.

                                                                BY THE COURT:




                                                                Marcia S. Krieger
                                                                United States District Judge




          1
             In criminal cases originating from the Grand Junction or Durango Jury Divisions of this Court, counsel
 shall be prepared to advise the Court at the time of the change of plea hearing whether a written request to have the
 sentencing hearing conducted at the courthouse in either Grand Junction or Durango will be filed. See
 Administrative Order 2007-8.
